Case 1:22-cr-00673-LAK Document 115 Filed 03/28/23 Page 1 of 43

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA SUPERSEDING INDICTMENT
v. S35 22 Cr. 673 (LAK)
SAMUEL BANKMAN-FRIED,
alk/a “SBF,”
Defendant.
Overview
1. From at least in or about 2019, up to and including in or about November 2022,

SAMUEL BANKMAN-EFRIED, a/k/a “SBF,” the defendant, corrupted the operations of the
cryptocurrency companies he founded and controlled—including FTX.com (“FTX”) and Alameda
Research (“Alameda”)—through a pattern of fraudulent schemes that victimized FTX customers,
investors, financial institutions, lenders, and the Federal Election Commission (“FEC”),
Exploiting the trust that FTX customers placed in him and his exchange, BANK MAN-FRIED
stole FTX customer deposits, and used billions of dollars in stolen funds for a variety of purposes,
including, among other things, to support the operations and investments of FTX and Alameda; fo
fund speculative venture investments; to make charitable contributions; and to enrich himself.
BANKMAN-FRIED also engaged in corrupt practices to advance his aims. In the United States,
he tried to influence cryptocurrency regulation in Washington, D.C. by steering tens of millions of
dollars of illegal campaign contributions to both Democrats and Republicans. He also conspired
to bribe one or more Chinese government officials in order to regain access to Alameda trading

accounts that had been frozen by Chinese law enforcement authorities.

Case 1:22-cr-00673-LAK Document 115 Filed 03/28/23 Page 2 of 43

2. Founded in 2019, FTX, the global cryptocurrency exchange led by SAMUEL
BANKMAN-ERIED, a/k/a “SBF,” the defendant, grew quickly, and with it gew BANKMAN-
FRIED’s public profile, political influence, and personal fortune. In promoting FTX and its
smaller sister company FTX.US, which he also controtled, BANKMAN-FRIED represented
himself as the figurehead of a trustworthy and law-abiding segment of the cryptocurrency industry
that was focused not only on profits, but also on investor and client protection. Likewise, in public
statements, including in testimony before the United States Senate, BANKMAN-FRIED
represented that FTX had a focus on “consumer protection,” had adopted “principles for ensuring
investor protections on digital asset-platforms,” including “avoiding or managing conflicts of
interest,” and that “as a general principle FTX segregates customer assets from its own assets
across our platforms.” As recently as late 2022, BANKMAN-FRIED boasted about FTX’s profits
and portrayed himself as a savior of the cryptocurrency industry, making venture investments and
acquisitions purportedly to assist struggling industry participants. BANKMAN-FRIED used
FTX.US to further burnish bis image, spending millions of dollars on celebrity advertisements
during the 2022 Super Bowl that promoted FTX.US as the “safest and easiest way to buy and sell
crypto” and “the most trusted way to buy and sell” digital assets.

3, In fact, and as SAMUEL BANKMAN-FRIED, a/k/a “SBF,” the defendant, well
knew, FTX-—which by early 2022 claimed to handle approximately $15 billion in daily trading
volume on its platforms—was not focused on investor or client protection, nor was it the legitimate
business that BANKMAN-FRIED claimed it was. Contrary to BANKMAN-FRIED’s promises
to FTX customers that the exchange would protect their interests and segregate their assets,
BANKMAN-FRIED routinely tapped FTX customer assets to provide interest-free capital for his

and Alameda’s private expenditures, and in the process exposed FTX customers to massive,

Case 1:22-cr-00673-LAK Document 115 Filed 03/28/23 Page 3 of 43

undisclosed risk. In addition, while BANKMAN-FRIED publicly claimed that FTX operated
independently from Alameda’s cryptocurrency trading and investments in other companies, by his
design, the reality was otherwise. BANKMAN-FRIED controlled FTX, FTX.US, and Alameda
and used them to prop each other up, notwithstanding conflicts of interests and outright lies to the
contrary.

4. SAMUEL BANKMAN-FRIED, a/k/a “SBF,” the defendant, perpetrated this multi-
billion-dollar fraud through a series of systems and schemes that allowed BANKMAN-FRIED,
through Alameda, to access and steal FTX customer deposits without detection. For instance, in
2021, FTX began to accept customer fiat deposits into an Alameda-affiliated bank account that
itself was established through a fraudulent scheme that BANKMAN-FRIED directed. This
account functioned as a mechanism for the routine and brazen misappropriation of those deposits.
BANKMAN-FRIED also caused the creation of secret loopholes in the computer code that
powered FTX’s trading platform—loopholes that allowed Alameda to incur a multi-billion-dollar
negative balance on FTX that BANKMAN-FRIED knew Alameda could not repay. Further,
BANKMAN-FRIED concealed from both Alameda’s lenders and FTX’s equity investors the fact
that Alameda had taken billions of dollars from FTX. At relevant times, BANKMAN-FRIED
required his co-conspirators and others who worked for him to communicate using encrypted and
ephemeral messaging platforms that self-deleted, thereby preventing regulators and law
enforcement from later obtaining a record of his misdeeds.

5. Over time, SAMUEL BANKMAN-FRIED, a/k/a “SBF,” the defendant, publicly
distanced himself from Alameda, but in reality, continued to exercise supervisory contro] over it
and to direct Alameda’s criminal activity. BANKMAN-FRIED used the FTX customer funds he

misappropriated and caused to be misappropriated to, among other things, support the trading and.

Case 1:22-cr-00673-LAK Document 115 Filed 03/28/23 Page 4 of 43

operations of Alameda, fund acquisitions and venture investments, and finance in substantial part
BANKMAN-FRIED’s unlawful political influence campaign, which involved flooding the
political system with tens of millions of dollars in illegal contributions to both Democrats and
Republicans made in the names of others in order to obscure the true source of the money and
evade federal election law.

6. In addition, in or about 2021, SAMUEL BANKMAN-FRIED, a/k/a “SBF,” the
defendant, authorized and directed a bribe of at least $40 million to one or more Chinese
government officials. The purpose of the bribe was to influence and induce one or more Chinese
government officials to unfreeze certain Alameda trading accounts containing over $1 billion in
cryptocurrency, which had been frozen by Chinese authorities. BANKMAN-FRIED and others
sought to regain access to the assets to fund additional Alameda trading activity, in order to assist
BANKMAN-FRIED and Alameda in obtaining and retaining business.

7. In or about early November 2022, an internet news organization leaked what
appeared to be Alameda’s balance sheet, revealing publicly that Alameda’s solvency was
dependent on the multi-billion-dollar valuation that Alameda assigned to its holdings of FIT,
FTX’s proprietary digital currency, which was illiquid and difficult to value. Following this
revelation, substantial numbers of FTX customers began seeking to withdraw their funds from
FTX. Knowing that FTX had misappropriated billions of dollars in customer funds, SAMUEL
BANKMAN-EFRIED, a/k/a “SBF,” the defendant, tried to reassure FTX customers, and slow
customer withdrawals from FTX, with what he knew were false public claims about the ability of
FTX to repay customer deposits, the security of FTX’s customer assets, and the status of
Alameda’s balance sheet. BANKMAN-FRIED also transferred funds putatively belonging to

Alameda to fill an approximately $45 million hole in customer assets on FTX.US.

Case 1:22-cr-00673-LAK Document 115 Filed 03/28/23 Page 5 of 43

8. In or about November 2022, in a last-ditch effort to secure sufficient liquid capital
to satisfy FTX customer withdrawals, SAMUEL BANKMAN-FRIED, a/k/a “SBF,” the defendant,
doubled down on his fraudulent schemes by soliciting billions of dollars in additional capital
investments from existing and potential investors in FTX, many of whom he had previously
defrauded. In soliciting this additional capital BANKMAN-FRIED made more false
representations to potential investors about the source of the multi-billion-dollar hole in FTX’s
balance sheet caused by his misappropriation of customer deposits and his own knowledge of how
the hole originated.

9, The efforts of SAMUEL BANKMAN-FRIED, a/k/a “SBF,” the defendant, to raise
sufficient capital to satisfy the demand for customer withdrawals failed. In November 2022, FTX
halted trading and entered bankruptcy along with Alameda, FTX.US, and dozens of related
entities. Left in FTX’s wake were thousands of customers who had trusted BANKMAN-FRIED,
FTX, and FTX.US with billions of dollars in savings and investment capital and found themselves
overnight unable to withdraw their funds and unsure about whether they would ever be repaid.

Backeround on Alameda Research and FTX

10. In or about November 2017, SAMUEL BANKMAN-FRIED, a/k/a “SBF,” the
defendant, a United States citizen, founded Alameda, a quantitative cryptocurrency trading firm
incorporated in Delaware, which had operations in the United States, Hong Kong, and The
Bahamas. At the time, Alameda principally engaged in high-frequency cryptocurrency arbitrage
trading, and also some market making, pooling of digital assets to earn interest (called yield
farming), and other forms of cryptocurrency trading. At times, Alameda was financially
successful. In or about 2019, FTX described Alameda as the “largest liquidity provider and market

maker” in the digital asset space, trading “$600 million to 1 billion a day” and accounting for

Case 1:22-cr-00673-LAK Document 115 Filed 03/28/23 Page 6 of 43

“roughly 5% of global volume” in digital asset trading, BANKMAN-FRIED and Gary Wang were
the sole equity owners of the firm, and BANK MAN-FRIED was the CEO of Alameda from in or
about November 2017 until in or around October 2021, at which time he passed the title to two
Alameda employees. Even after BANKMAN-FRIED was no longer CEO, however, he remained
Alameda’s ultimate decisionmaker, and directed, among other things, trading strategy, investment
decisions, and venture spending.

11. In or around May 2019 and while still the CEO of Alameda, SAMUEL
BANKMAN-ERIED, a/k/a “SBE,” the defendant, founded and served as the CEO of FTX Trading
Ltd., a global cryptocurrency exchange that, through several subsidiary entities, did business as
FTX. FTX offered customers the ability to trade in cryptocurrencies such as bitcoin, ether, and
stablecoins, as well as crypto derivatives such as options, swaps, and futures. FTX also offered
customers a “spot market” for trading cryptocurrency with other FTX customers in exchange for
other cryptocurrencies or traditional currency, also known as fiat (referred to below generally as
“dollars”), such as U.S. dollars. FTX also eventually added a “spot margin trading and borrowing”
service, which permitted FTX customers who opted into the service to either lend their crypto
assets to other customers for spot trading, or trade on credit using borrowed crypto assets by
posting collateral and borrowing crypto assets through the spot market on FTX.

12. From its launch, FTX grew rapidly. By in or about 2020, FTX was one of the
largest digital asset exchanges in the world based on trading volume, and by in or about early 2022,
FTX claimed to handle approximately $15 billion in daily trading volume on its platforms.

13. SAMUEL BANKMAN-FRIED, a/k/a “SBF,” the defendant, raised at least $1.8
billion dollars from investors, including investors based in the United States and the Southern

District of New York, in exchange for various classes of stock in FTX. This money was raised

Case 1:22-cr-00673-LAK Document 115 Filed 03/28/23 Page 7 of 43

through multiple fundraising rounds, including: (1) a fundraising completed in or around August
2019 of approximately $8 million; (2) a fundraising completed in or around July 2021 of
approximately $1 billion; (3) a fundraising completed in or around October 2021 of approximately
$420 million; and (4) a fundraising completed in or around January 2022 of approximately $500
million. BANKMAN-FRIED continued efforts to fundraise for FTX at least up to and including
November 2022,

BANKMAN-FRIED’s Multiple Criminal Schemes

At BANKMAN-FRIED’s direction, FTX Fraudulently Opened and Used Bank Accounts
Affiliated with Alameda to Receive Customer Deposits and Transmit Funds

14. From FTX’s founding in or about 2019, SAMUEL BANKMAN-FRIED, a/k/a
“SBF,” the defendant, sought to use the United States financial system, and in particular, bank
accounts in the United States, to promote FTX’s business. In particular, after FTX launched in or
around May 2019, and in order to attract customers and their assets, including U.S. dollars, FTX
needed bank accounts that would allow FTX customers to deposit dollars with FTX that could be
used to purchase cryptocurrency assets and pay for transactions. When FTX was founded,
however, many U.S. banks were reluctant to do business with cryptocurrency companies, and those
banks that were willing to open accounts for cryptocurrency companies had extensive customer
due diligence and licensing requirements, with which FTX was not compliant.

15. Because FTX did not have its own bank accounts for holding customer deposits,
for a period of time in or around 2019 and 2020, FTX instructed customers to wire dollar deposits
to bank accounts that were owned or controlled by Alameda, which at the time SAMUEL
BANKMAN-FRIED, a/k/a “SBE,” the defendant, also controlled as the CEO. These Alameda
accounts had been opened as trading accounts and had been used almost exclusively for Alameda’s

trading purposes until they were also employed as accounts for FTX to receive and transmit its

Case 1:22-cr-00673-LAK Document 115. Filed 03/28/23 Page 8 of 43

customer deposits and withdrawals. Alameda never informed the banks where these accounts were
held that these accounts in Alameda’s name began to be used in substantial part by FTX to accept
customer deposits for, and as a vehicle for customer withdrawals from, FTX’s cryptocurrency
exchange.

16. During the time period in which FTX was using Alameda bank accounts to receive
and transmit customer deposits, SAMUEL BANKMAN-FRIED, a/k/a “SBF,” the defendant, and
others, made efforts to open bank accounts for this purpose in FTX’s name. In particular,
BANKMAN-FRIED, through Alameda employees, attempted to open an account for FTX at a
bank in California (“Bank-1”), the deposits of which were insured by the Federal Deposit
Insurance Corporation and where Alameda already had bank accounts. Bank-1 made clear,
however, that it would not open an account for customer deposits and withdrawals absent evidence
that FTX was licensed and registered, including federal registration as a money services business,
and that, in any event, Bank-1 would need to conduct an enhanced due diligence process before
opening any account used to process customer deposits and withdrawals.

17. In or about January 2020, SAMUEL BANKMAN-FRIED, a/k/a “SBF,” the
defendant, contacted Bank-1 about opening an FTX account. BANKMAN-FRIED learned from
Bank-{ that BANKMAN-FRIED should not attempt to open an account for FTX, an international
platform, at that time. He was further told that ifhe wished to open an account to process customer
deposits and withdrawals for FTX.US, FTX’s business in the United States, FFX.US would need
to register as a money services business. While BANKMAN-FRIED did later register FTX.US as
amoncy services business in 2020, no attempts were made to make FTX a licensed money services
business and BANKMAN-FRIED never sought to have FTX or Alameda comply with the

regulatory requirements of licensure. Instead, FTX continued to use Alameda trading accounts to

Case 1:22-cr-00673-LAK Document 115 Filed 03/28/23 Page 9 of 43

accept customer deposits and process customer withdrawals.

18. In part to obscure the relationship between FTX and Alameda, and in order to
overcome Bank-1’s refusal to open a bank account for FTX without extensive due diligence and
licensing, in or about August 2020, SAMUEL BANKMAN-FRIED, a/k/a “SBF,” the defendant,
directed the incorporation of a new U.S.-based entity, North Dimension. BANKMAN-FRIED was
listed as sole owner, CEO, and president of North Dimension, which had no employees or business
operations outside of its bank account. BANKMAN-FRIED and others chose the name “North
Dimension” in part to conceal that there was a relationship between North Dimension and Alameda
from FTX customers and from banks approving transactions with the North Dimension bank
account. BANKMAN-FRIED also directed the creation of a website for North Dimension and
used a credit card in his name to fund the hosting services for the website.

19. Aware of the fact that Bank-1 would not open an exchange account or account for
receiving customer deposits for an entity without the appropriate registration and enhanced due
diligence, SAMUEL BANKMAN-FRIED, a/k/a “SBF,” the defendant, and other Alameda
employees told Bank-1 a false story, namely, that North Dimension sought to open an account to
function as a trading account connected to Alameda’s existing trading accounts, instead of the
truth, which was that the North Dimension account would function as an account to receive and
transmit FTX customer deposits. Under BANKMAN-FRIED’s supervision, employees of
Alameda completed an account application that falsely stated that the purpose of the North
Dimension bank account was for “trading” and “market making.” Bank-1 was also given a
completed North Dimension due diligence questionnaire—which BANKMAN-FRIED signed—
that falsely stated that North Dimension “trades on multiple cryptocurrency exchanges worldwide

for its own account” and that North Dimension “also participates in direct peer-to-peer, OTC

Case 1:22-cr-00673-LAK Document 115 Filed 03/28/23 Page 10 of 43

purchases and sales with certain third parties for its own account.” Furthermore, despite the fact
that North Dimension was created for the purpose of transmitting customer deposits on and off the
FTX exchange, the due diligence questionnaire falsely claimed that North Dimension was not a
money services business.

20. In or about April 2021, Bank-1 approved the opening of the North Dimension
account, without enhanced due diligence or review by Bank-1’s executive committee, as would
have been required had the true purposes of North Dimension’s account been disclosed to Bank-1.

21. Once the North Dimension bank account was opened, FTX directed customer dollar
deposits to the North Dimension account. Thereafter, when FTX customers deposited or withdrew
fiat currency, Alameda personnel, who maintained control over the North Dimension account and
acted under the direction and supervision of SAMUEL BANKMAN-FRIED, a/k/a “SBF,” the
defendant, and his co-conspirators, manually credited or subtracted the customer’s FTX account
with the corresponding amount of fiat currency on an internal ledger system. Customers could
then convert their deposits to a range of cryptocurrencies and traditional currencies, engage in
various types of trading, and make withdrawals denominated in various types of cryptocurrencies
and traditional currencies. FTX charged fees and generated revenues from many of these activities,
using the fraudulently obtained access to a U.S. bank account. Customers could also convert
yarious cryptocurrencies and traditional currencies to dollars on their FTX account, and withdraw
the dollars from FTX. FTX sent customer withdrawals by wire transfer from the North Dimension
bank account, and by at least summer 2021 charged a fee for dollar withdrawals.

BANKMAN-ERIED Directed the Misappropriation of Customer Deposits

22. Despite representations SAMUEL BANKMAN-FRIED, a/k/a “SBI,” the

defendant, made and caused to be made to the contrary, FTX never held customer funds in

10

Case 1:22-cr-00673-LAK Document 115 Filed 03/28/23 Page 11 of 43

dedicated accounts for the benefit of customers or segregated from Alameda’s assets. Rather, with
the knowledge and under the supervision of BANKMAN-FRIED, Alameda commingled FTX
customer funds with Alameda assets in Alameda accounts. With BANKMAN-FRIED’s
knowledge and at his direction, Alameda regularly took money from accounts funded by or that
included funds from FTX customers, including the North Dimension account. Alameda ultimately
spent billions of dollars of those FTX customer funds, among other things, to finance Alameda’s
trading and expenses, to make venture investments directed by BANKMAN-FRIED, and to
bankroll tens of millions of dollars in campaign contributions made in the names of individuals
but in fact funded from Alameda accounts.

23. SAMUEL BANKMAN-FRIED, a/k/a “SBF,” the defendant, was able to
accomplish this scheme not only by causing FTX customers to deposit money into accounts
controlled by Alameda, but also by secretly building Alameda’s capacity to misuse FTX customer
funds into the computer code that operated the FTX trading platform.

24. In or about July 2019, SAMUEL BANKMAN-FRIED, a/k/a “SBF,” the defendant,
publicly claimed that: “Alameda is a liquidity provider on FTX but their account is just like
everyone else’s.” Such representations continued through 2022, with BANKMAN-FRIED
asserting, for example, that “[t]here are no parties that have privileged access” on FTX, and that
“Alameda is a wholly separate entity.” Contrary to those representations, BANKMAN-FRIED
had caused FTX’s computer code and software to allow Alameda to accrue a negative balance on
FTX’s exchange. That modification to FYX’s code, along with others implemented at
BANKMAN-FRIED’s direction, made Alameda’s account unlike those of other customers. While
FTX typically would have automatically liquidated a client’s account once its negative balance

exceeded the amount of any posted collateral, net of fees, FTX permitted Alameda to maintain a

11

Case 1:22-cr-00673-LAK Document 115 Filed 03/28/23 Page 12 of 43

negative balance, draw on a multi-billion-dollar line of credit, borrow funds from FTX without
sufficient collateral, evade auto-liquidation, and withdraw funds off the exchange. Over time,
BANKMAN-FRIED directed that Alameda’s credit limit be raised to approximately $65 billion,
which in practice permitted Alameda to draw on FTX accounts funded by customer assets on an
unlimited basis—in amounts that exceeded FTX revenue and tapped into customer funds.

25. Over time, SAMUEL BANKMAN-FRIED, a/k/a “SBF,” the defendant, hid the
close relationship between FTX and Alameda and his continued involvement in and control of
both FTX and Alameda in order to minimize the appearance of potential conflicts of interest and
to prevent further scrutiny that might uncover his schemes. To publicly distance himself from
Alameda, BANKMAN-FRIED stepped down as CEO of Alameda in or about October 2021, and
named Caroline Ellison, a long-time associate and co-conspirator in the fraudulent scheme, and
another individual as co-CEOs of Alameda. But in practice, BANKMAN-FRIED continued
routinely to direct investment and operational decisions at Alameda and exercised supervisory
control over it.

26. SAMUEL BANKMAN-FRIED, a/k/a “SBF,” the defendant, also took steps to
conceal that his multi-billion-dollar venture investments and expenditures were funded by transfers
originating with Alameda, and therefore funded with FTX customer funds. For example,
BANKMAN-FRIED directed Ellison to change the name of Alameda entities that were funding
venture capital investments by FTX so that it would not be apparent that the money was coming
from Alameda. Similarly, BANKMAN-FRIED personally borrowed more than $1 billion from
Alameda and oversaw similar borrowing by other FTX executives, which was then principally
used to make investments in the name of BANKMAN-FRIED and his associates, rather than in

the name of Alameda. This conduct served to conceal the close connection to Alameda, as well

12

Case 1:22-cr-00673-LAK Document 115 Filed 03/28/23 Page 13 of 43

as the criminal source of the funds. At the same time, BANKMAN-FRIED falsely projected
ignorance about Alameda’s affairs.

27. SAMUEL BANKMAN-ERIED, a/k/a “SBF,” the defendant, also deceived FTX
investors about the exchange’s relationship with Alameda, and about the safety of the exchange
more generally, through the use of audited financial statements provided to investors. In the course
of the audits underlying the financial statements, BANKMAN-FRIED and those acting at his
direction misled auditors and avoided providing information about FTX customers, including
Alameda, and about the commingling of customer assets with Alameda funds, as well as
Alameda’s enormous line of credit on the exchange. When one co-conspirator expressed concern
to BANKMAN-FRIED about auditors disapproving of the commingling of customer assets with
Alameda funds, BANKMAN-FRIED assured that co-conspirator that the auditors would not find
out. The audited financials were then used to falsely reassure customers and investors that PTX
had proper risk management controls and systems for storing customer assets.

BANKMAN-FRIED Directed a Multi-Million Dollar Bribe
to One or More Chinese Government Officials in Order to Unfreeze Alameda Trading Accounts

28. In or atound early 2021, Chinese law enforcement authorities froze certain
Alameda cryptocurrency trading accounts (the “Accounts”) on two of China’s largest
cryptocurrency exchanges (the “Chinese Exchanges”) that collectively contained approximately
$1 billion in cryptocurrency. SAMUEL BANKMAN-FRIED, a/k/a “SBF,” the defendant,
understood that the Accounts had been frozen by Chinese authorities as part of an ongoing
investigation of a particular Alameda trading counterparty.

29. After the Accounts were frozen, SAMUEL BANKMAN-FRIED, a/k/a “SBE,” the
defendant, and others operating at his direction, considered and tried numerous methods to

unfreeze the Accounts or otherwise to regain access to the cryptocurrency in the Accounts,

13

Case 1:22-cr-00673-LAK Document 115 Filed 03/28/23 Page 14 of 43

including retaining attorneys to lobby or otherwise advocate in China for Alameda’s funds to be
unfrozen; communicating with the Chinese Exchanges; and opening new accounts on the Chinese
Exchanges using the personal identifying information of several individuals unaffiliated with FTX
or Alameda (the “Fraudulent Accounts”) and attempting to transfer the cryptocurrency from the
frozen Accounts to the Fraudulent Accounts in an effort to circumvent the Chinese authorities’
freeze orders.

30. After months of failed attempts to unfreeze the Accounts, SAMUEL BANKMAN-
FRIED, a/k/a “SBF,” the defendant, discussed with others and ultimately agreed to and directed a
multi-million-dollar bribe to seek to unfreeze the Accounts. In particular, BANKMAN-FRIED
authorized and directed the illicit transfer of cryptocurrency intended to induce and influence one
ot more Chinese government officials to unfreeze the Accounts. Following BANKMAN-FRIED’s
authorization and direction, an Alameda employee sent cryptocurrency payment instructions for
at least a portion of the bribe payment to other Alameda employees, including at least one
employee located in the United States. As a result, in or about November 2021, BANKMAN-
FRIED caused a bribe payment of cryptocurrency then worth approximately $40 million to be
transferred from Alameda’s main trading account to a private cryptocurrency wallet. At or around
the time of the $40 million bribe payment, the Accounts were unfrozen. After confirmation that
the Accounts were unfrozen, BANKMAN-FRIED authorized the transfer of additional tens of
millions of dollars in cryptocurrency to complete the bribe.

31. After the Accounts were unfrozen, at the direction of SAMUEL BANKMAN-
FRIED, a/k/a “SBE,” the defendant, Alameda used the unfrozen cryptocurrency to fund additional

Alameda trading activity.

i4

Case 1:22-cr-00673-LAK Document 115 Filed 03/28/23 Page 15 of 43

BANKMAN-FRIED Directed Alameda to Misappropriate
Billions of Dollars in FTX Customer Funds to Repay Alameda’s Lenders

32. In or around June 2022, the cryptocurrency markets experienced a downturn.
SAMUEL BANKMAN-FRIED, a/k/a “SBF,” the defendant, through Alameda, was heavily
invested in the cryptocurrency industry through cryptocurrency trading and related illiquid venture
investments. As a result of the market downturn, Alameda faced demands for repayment from
multiple third-party cryptocurrency lenders on substantial outstanding loans. While Alameda was
obligated to repay the loans on demand, Alameda lacked the funds to repay these lenders.

33. Rather than allow Alameda to default on its loans, which would have jeopardized
the survival of both Alameda and FTX, SAMUEL BANKMAN-FRIED, a/k/a “SBF,” the
defendant, authorized Alameda to draw down billions of dollars in customer assets from FTX and
to use those assets to repay Alameda’s lenders. The billions of dollars that BANKMAN-FRIED
caused Alameda to draw from FTX greatly exceeded FTX’s revenue, liquid capital, and available
funds under FTX’s relatively small peer-to-peer lending program. BANKMAN-FRIED was able
to divert billions of dollars in FTX customer funds to Alameda undetected as a result of the features
to benefit Alameda that he had directed be built into FTX’s code and software.

34. Shortly after authorizing the misappropriation of billions of dollars of FTX
customer funds to repay Alameda’s loans, in or about July 2022, SAMUEL BANKMAN-FRIED,
a/k/a “SBF,” the defendant, tweeted, “Backstopping customer assets should always be primary.
Everything else is secondary.”

35. Even after SAMUEL BANKMAN-FRIED, a/k/a “SBF,” the defendant, had
misappropriated billions of dollars of FTX customer funds to repay Alameda’s lenders,
BANKMAN-ERIED continued to direct discretionary investments, charitable contributions, and

political donations using Alameda funds, including by directing that Alameda continue to draw on

15

Case 1:22-cr-00673-LAK Document 115 Filed 03/28/23 Page 16 of 43

its line of credit on FTX.

36. Although SAMUEL BANKMAN-FRIED, a/k/a “SBF,” the defendant, had caused
Alameda to repay lenders using FTX customer funds, Alameda still had at least hundreds of
millions of dollars in outstanding loans, and had to provide financial information to its creditors.
BANKMAN-FRIED directed Ellison to devise a way to mislead those creditors about the money
Alameda had “borrowed” from FTX, as well as about the substantial personal loans Alameda had
made to FTX executives, and together, BANKMAN-FRIED and Ellison provided false and
misleading financial statements to creditors.

BANKMAN-FRIED Made Unlawful Political Contributions to Acquire Bipartisan Influence

37. As he used Alameda to siphon off FTX’s customer funds and deploy them for
political causes, SAMUEL BANKMAN-FRIED, a/k/a “SBF,” the defendant, became one of the
largest publicly reported political donors for the 2022 midterm elections. But his effort to influence
politics did not stop there. To avoid certain contributions being publicly reported in his name,
BANKMAN-FRIED conspired to and did have certain political contributions made in the names
of two other FTX executives (“CC-1” and “CC-2”). Those contributions were made directly to
candidates in the names of those FTX executives, but with FTX and Alameda funds.

38. SAMUEL BANKMAN-FRIED, a/k/a “SBF,” the defendant, perpetuated his
campaign finance scheme at least in part to improve his personal standing in Washington, D.C.,
increase FTX’s profile, and curry favor with candidates that could help pass legislation favorable
to FTX or BANKMAN-FRIED’s personal agenda, including legislation concerning regulatory
oversight over FTX and its industry. To accomplish these goals, BANKMAN-FRIED caused
substantial contributions to be made in support of candidates of both major political parties and

across the political spectrum. BANKMAN-FRIED, however, did not want to be known as a left-

16

Case 1:22-cr-00673-LAK Document 115 Filed 03/28/23 Page 17 of 43

leaning partisan, or to have his name publicly attached to Republican candidates. In those
instances when he wanted to obscure his association with certain contributions, BANKMAN-
FRIED and others conspired to and did have those contributions made in the names of CC-1 and
CC-2.

39. As part of this scheme, contributions were coordinated to be made in the names of
the two FTX straw donors to candidates they did not necessarily support or know. These straw
donations were instead made for purposes of furthering the political agenda of SAMUEL
BANKMAN-FRIED, a/k/a “SBF,” the defendant, while providing him cover to avoid being
associated with certain contributions, and concealing that the source of the contributions was in
fact Alameda.

40. SAMUEL BANKMAN-FRIED, a/k/a “SBF,” the defendant, and his co-
conspirators selected CC-1 to be the face of BANKMAN-FRIED’s and F'T'X’s more left-leaning
spending. CC-1 ultimately became—at least in name-—one of the largest Democratic donors in
the 2022 midterm elections and made donations to further BANK MAN-FRIED’s agenda that CC-
1 otherwise would not have made.

41, For instance, in or around 2022, SAMUEL BANKMAN-ERIED, a/k/a “SBF,” the
defendant, and others agreed that he and his co-conspirators should contribute at least a million
dollars to a super PAC that was supporting a candidate running for a United States Congressional
seat and appeared to be affiliated with pro-LGBTQ issues, and selected CC-1 to be the contributor.
A political consultant working for BANKMAN-FRIED asked CC-1 to make the contribution and
told CC-1, “in general, you being the center left face of our spending will mean you giving to a lot
of woke shit for transactional purposes.” CC-1 expressed discomfort with making the contribution

in his name, but agreed there was not anyone “trusted at FTX [who was] bi/gay” in a position to

17

Case 1:22-cr-00673-LAK Document 115 Filed 03/28/23 Page 18 of 43

make the contribution. At the direction of BANKMAN-FRIED and individuals working for him,
CC-1 nonetheless contributed to the PAC.

42. Likewise, it was the preference of SAMUEL BANKMAN-FRIED, a/k/a “SBF,”
the defendant, to keep contributions to Republicans “dark.” In keeping with that preference, CC-
2, who publicly aligned himself with conservatives, made contributions to Republican candidates
that were directed by BANKMAN-FRIED and funded by Alameda.

43. From at least in or around March 2022, SAMUEL BANKMAN-FRIED, a/k/a
“SBF,” the defendant, and his co-conspirators began coordinating political contributions paid for
using FTX and Alameda funds through an encrypted, auto-deleting Signal chat called “Donation
Processing.” From time to time, BANKMAN-EFRIED and his co-conspirators substituted other
individuals in BANKMAN-FRIED’s place for contributions originally intended to be made in
BANKMAN-FRIED’s name. For instance, shortly before the midterm elections, an FTX
employee was directed to “wire $107k from [BANKMAN-FRIED] personal to New York State
Democratic Committee,” but then was asked by BANKMAN-FRIED to “update this to a 107k
contribution from [CC-1].”

44, In total, between in or about the fall of 2021 and the November 2022 election,
SAMUEL BANKMAN-ERIED, a/k/a “SBF,” the defendant, and the two FTX executives who
served as straw donors as part of his scheme—CC-1 and CC-2—collectively made millions of
dollars in contributions, including in “hard money” contributions to federal candidates from both
major political parties.

45. The money used to make these political donations originated from Alameda bank
accounts, and included funds that had been deposited by FTX customers. Notwithstanding his

awareness of the campaign finance laws, in order to conceal the true source of the funds, SAMUEL

18

Case 1:22-cr-00673-LAK Document 115 Filed 03/28/23 Page 19 of 43

BANKMAN-FRIED, a/k/a “SBF,” the defendant, agreed with others that funds for contributions
would be transferred from Alameda’s bank accounts, which also contained FTX customer funds,
to bank accounts in the name of the donors, and then quickly transferred from those individuals’
bank accounts to political campaigns.

46. In total, SAMUEL BANKMAN-FRIED, a/k/a “SBF,” the defendant, and his co-
conspirators made over 300 political contributions, totaling tens of millions of dollars, that were
unlawful because they were made in the name of a straw donor or paid for with corporate funds.
In dozens of instances, BANKMAN-FRIED’s use of straw donors allowed him to evade
contribution limits on individual donations to candidates to whom he had already donated. Asa
result of this fraudulent conduct, BANKMAN-FRIED and his co-conspirators caused false
information to be reported by campaigns and PACs to the FEC, which had the result of impairing
and impeding the FEC’s reporting and enforcement functions.

47. To further conceal the scheme, SAMUEL BANKMAN-FRIED, a/k/a “SBF,” the
defendant, and his co-conspirators recorded the outgoing wire transfers from Alameda to
individuals’ bank accounts for purposes of making contributions as Alameda “loans” or
“expenses.” But unlike other loans that were made to FTX executives, including to BANKMAN-
FRIED, CC-1, and CC-2, these outgoing wire payments were not documented in agreements or on
term sheets, and there were no set interest rates, no interest payments, no collateral, and no
evidence of repayment. While employees at Alameda generally tracked loans to executives, the
transfers to BANKMAN-FRIED, CC-1, and CC-2 in the months before the 2022 midterm elections
were not recorded on internal Alameda tracking spreadsheets. Instead, an internal Alameda
spreadsheet noted over $100 million in political contributions, even though FEC records reflect no

political contributions by Alameda for the 2022 midterm elections to candidates or PACs.

19

Case 1:22-cr-00673-LAK Document 115 Filed 03/28/23 Page 20 of 43

48. Tn or around November 2022, as FTX customer withdrawals were surging and FTX
was experiencing a solvency crisis (as described below), and just days before the midterm
elections, CC-1 messaged SAMUEL BANKMAN-ERIED, a/k/a “SBF,” the defendant, that he was
concerned about the “maybe 80m” of “donations/personal/ete that went through my bank [account]
and are in my name.” CC-1 proposed a back-dated transaction to undo any sort of debt he might
owe as a result of wire transfers being recorded on Alameda’s ledger as “loans.” BANKMAN-
FRIED asked CC-1 how they would go about doing it, and CC-1 proposed a retroactive sale of
certain cryptocurrencies “earlier in 2022” to remove the $80 million fiability CC-1 had to
FTX/Alameda, which would have further concealed the campaign finance scheme. The

transaction was not, however, completed before FTX’s collapse.

BANKMAN-FRIED’s Lies During FTX’s Collapse

49. Onor about November 2, 2022, an online news publication published an article that
appeared to leak Alameda’s balance sheet, disclosing that the predominant portion of Alameda’s
$14.6 billion of assets comprised Alameda’s holdings of FTX’s digital token, FTT. Prior to
November 2022, SAMUEL BANKMAN-ERIED, a/k/a “SBF,” the defendant, had engineered the
price of FTT, including by directing that Alameda buy large amounts of the token to maintain its
price when it was dropping, and to keep such price manipulation a secret. Over time, FTT became
a sizeable asset on Alameda’s balance sheet despite its illiquidity, and Alameda began using it as
collateral to obtain billions of dollars in loans from third-party lenders for Alameda, which
exponentially increased Alameda’s ability to obtain sizeable loans, while at the same time leaving
Alameda exposed to significant financial risk.

50. After the November 2, 2022 leak showing Alameda’s assets comprised mostly FTT,

commentary expressing fear, uncertainty, and doubt about the value of FTT, and in turn the

20)

Case 1:22-cr-00673-LAK Document 115 Filed 03/28/23 Page 21 of 43

prospects of FTX as an exchange, spread across the internet.

51. In an effort to tamp down those concerns about FTX, Alameda, and FTT, at the
direction of SAMUEL BANKMAN-ERIED, a/k/a “SBF,” the defendant, Ellison tweeted on or
about November 6, 2022: “A few notes on the balance sheet info that has been circulating recently:
- that specific balance sheet is for a subset of our corporate entities, we have > $10b of assets that
aren’t reflected there... . given the tightening in the crypto credit space this year we’ve returned
most of our loans by now.” This tweet was misleading in several respects. First, while Alameda
had by that time repaid most of its loans to external lenders, it had done so by misappropriating
billions of dollars of FTX customer funds that it still owed to FTX. Second, the supposed
additional $10 billion in assets included not only the loans Alameda had made to related-parties,
like BANKMAN-FRIED and other FTX executives, but also the value of investments made by
BANKMAN-FRIED with that money, even though those investments were not owned or
controlled by Alameda.

52. That same day, on or about November 6, 2022, the CEO of another cryptocurrency
exchange tweeted that he had decided to liquidate approximately $2.1 billion of FTT held by his
exchange. Soon after, Ellison, in consultation with SAMUEL BANKMAN-FRIED, a/k/a “SBE,”
the defendant, and others, and in an effort to prevent the collapse of FTT’s value, tweeted in
response that if the CEO was “looking to minimize the market impact on your FTT sales, Alameda
will happily buy it all from you today at $22!” The effort to blunt the effect of the threatened sale
of ETT was unsuccessful. The value of the FTT token fell and many FTX customers sought to
withdraw their assets from FTX, resulting not only in the plummeting of FTT’s value, but also the

equivalent of a cryptocurrency bank run of several billion dollars.

21

Case 1:22-cr-00673-LAK Document 115 Filed 03/28/23 Page 22 of 43

53. Because SAMUEL BANKMAN-FRIED, a/k/a “SBF,” the defendant, had
misappropriated FTX customer assets for use by Alameda, however, FTX lacked the funds to meet
surging customer demands for withdrawals of their deposits. At BANKMAN-FRIED’s direction,
Alameda began liquidating its assets and using the proceeds to satisfy FTX customer withdrawals.
On or about November 6, 2022, BANKMAN-FRIED sent CC-1 a screenshot of a message from
Ellison that read, in part: “I just had an increasing dread of this day that was weighing on me for a
long time, and now that it’s actually happening it just feels great to get it over with one way or
another.”

54. In an attempt to stem the withdrawals from FTX and forego a solvency crisis, on
or about November 7, 2022, SAMUEL BANKMAN-FRIED, a/k/a “SBF,” the defendant, posted
a series of false and misleading tweets. First, he tweeted: “A competitor is trying to go after us
with false rumors. FTX is fine. Assets are fine.” He added in a second tweet, in part, “FTX has
enough to cover all client holdings. We don’t invest client assets (even in treasuries). We have
been processing all withdrawals, and will continue to be.” In a third tweet about FTX,
BANKMAN-FRIED stated: “It’s heavily regulated, even when that slows us down. We have
GAAP audits, with > $1B excess cash. We have a long history of safeguarding client assets, and
that remains true today.”

55. Despite his false assurances, the fraudulent scheme of SAMUEL BANKMAN-
FRIED, a/k/a “SBF,” the defendant, caused significant negative price impact on the value of
commodities in interstate commerce in the United States, including bitcoin and ether spot and
future prices,

56. Customer withdrawals continued to surge and threaten the solvency of FTX.

Beginning on or about November 7, 2022, SAMUEL BANKMAN-FRIED, a/k/a “SBF,” the

22

Case 1:22-cr-00673-LAK Document 115 Filed 03/28/23 Page 23 of 43

defendant, and others acting at his direction, began contacting existing and potential investors for
a multi-billion-dollar bailout. BANKMAN-FRIED supplied existing and potential investors with
what purported to be FTX’s balance sheet, showing that FTX had approximately $9.6 billion of
assets versus approximately $8.9 billion of liabilities, which would yield a positive net equity of
approximately $700 million. The balance sheet noted, however, that FTX had an additional
liability of $8 billion in a “Hidden, poorly internally labled [sic] “fiat@’ account,” and that FTX
had experienced $5 billion in customer withdrawals on November 6, 2022. Beneath these two line
items, BANKMAN-ERIED stated: “There are many things I wish I could do differently than J did,
but the largest are represented by these two things: the poorly labeled internal bank-related
account, and the size of customer withdrawals during a run on the bank.”

57. In fact, and as SAMUEL BANKMAN-FRIED, a/k/a “SBF,” the defendant, well
knew, the “[h]idden, poorly internally labled [sic] ‘fiat@’ account,” was the multi-billion-dollar
entry on FTX’s ledger reflecting the amount of FTX customer fiat deposits accepted into
Alameda’s bank accounts that had not been maintained for the benefit of customers or repaid to
FTX, and of which BANKMAN-FRIED was aware throughout the relevant time period. The
labeling of the account was deliberate: BANKMAN-FRIED had previously authorized moving the
ledger entry of Alameda’s fiat liability from an account with “fiat” in its name, into a subaccount
under the last name of an Alameda intern. On or about November 6, 2022, in the course of
directing CC-1 and others to calculate Alameda assets and liabilities for purposes of estimating

available funds to meet customer withdrawal demands, BANKMAN-FRIED specifically told CC-

23

Case 1:22-cr-00673-LAK Document 115 Filed 03/28/23 Page 24 of 43

1 to include this subaccount in his calculations, describing it as the account that “has the old fiat@
account.”

58. | Onor about November 9, 2022, it became clear to FTX and Alameda employees
that the companies would not survive the solvency crisis because there were not sufficient funds
to cover customer withdrawals, and there was no third party willing to bailout FTX. That day,
Ellison addressed Alameda employees in an all-hands meeting. Ellison acknowledged that earlier
that year, she, SAMUEL BANKMAN-FRIED, a/k/a “SBF,” the defendant, Wang, and CC-1 had
decided to use, and used, FTX customer assets to pay Alameda’s debts to lenders,

59. At the same time that SAMUEL BANK MAN-FRIED, a/k/a “SBF,” the defendant,
was trying to address FTX’s solvency crisis caused by the misappropriation of FTX customer
assets, he prioritized certain disbursements at the expense of satisfying FTX customer withdrawals.
For example, on or about November 8, 2022, the general counsel of FTX.US, in a Signal chat that
included BANK MAN-ERIED and several close associates, demanded: “I need to know the fucking
truth about FTX US right now.” Soon thereafter, on or about November 9, 2022, BANKMAN-
FRIED was told in the same Signal chat that there was an approximately $45 million deficit in
FTX.US customer assets. BANKMAN-FRIED responded that he had transferred $46 million from
Alameda to FTX.US. On or about November 8, 2022, FTX suspended customer withdrawals.
Shortly thereafter, however, BANKMAN-FRIED reopened withdrawals only for customers in The
Bahamas, resulting in millions of dollars being preferentially withdrawn from the exchange, while
other customers of FTX had no true access to it.

60. To conceal his activities and the activities of his co-conspirators during the
unraveling of FIX, SAMUEL BANKMAN-FRIED, a/k/a “SBF,” the defendant communicated

with his employees over Signal, an ephemeral messaging application. BANKMAN-FRIED had

24

Case 1:22-cr-00673-LAK Document 115 Filed 03/28/23 Page 25 of 43

previously instructed employees to communicate over Signal, and directed that employee Signal
messages be set to auto-delete after brief periods of time, in part to prevent the preservation of
evidence that could be used against him. In November 2022, the general counsel of FTX.US
warned employees that they should preserve documents because of the involvement of regulators,
and then posted in a company Slack channel that FTX would need to be shut down. BANKMAN-
FRIED, however, deleted the general counsel’s message about FTX being shut down, continued
to use Signal messaging, and proceeded to delete some of his own statements on Twitter, including
his tweets about customer assets being “fine.”

61. Before resigning from FTX, SAMUEL BANKMAN-FRIED, a/k/a “SBF,” the
defendant, met with one of FT-X’s in-house attorneys to discuss what, if any, legal explanation
BANKMAN-FRIED could provide for the use of customer funds in response to questions from
potential investors. BANKMAN-FRIED and the attorney discussed and dismissed several
potential explanations as inadequate. In particular, they considered whether BANKMAN-FRIED
could claim that Alameda had borrowed from customers who had opted in to FTX’s peer-to-peer
borrow/lend program. BANKMAN-FRIED and the attorney, however, quickly dismissed the
explanation because Alameda’s borrowing greatly exceeded the funds lent through the PTX
borrow/lend program, even if Alameda had been the only borrower. BANKMAN-FRIED,
however, later publicly embraced the explanation that he earlier had acknowledged privately was
unsupported by the facts: that Alameda did not misuse FTX customer funds but permissibly
borrowed funds that customers had opted in to FTX’s peer-to-peer lending program.

62. On November 11, 2022, SAMUEL BANKMAN-FRIED, a/k/a “SBF,” the
defendant, resigned from FTX, and FTX and approximately one hundred affiliated entities,

including FTX.US, and Alameda filed for Chapter 11 bankruptcy protection.

25

Case 1:22-cr-00673-LAK Document 115 Filed 03/28/23 Page 26 of 43

STATUTORY ALLEGATIONS

COUNT ONE
(Conspiracy to Commit Wire Fraud on Customers of FTX)

The Grand Jury charges:

63. The allegations contained in paragraphs 1 through 62 of this Indictment are
repeated and realleged as if fully set forth herein.

64. From at least in or about 2019, up to and including in or about November 2022, in
the Southern District of New York, and elsewhere, SAMUEL BANKMAN-FRIED, a/k/a “SBF,”
the defendant, and others known and unknown, willfully and knowingly did combine, conspire,
confederate, and agree together and with each other to commit wire fraud, in violation of Title 18,
United States Code, Section 1343.

65. It wasa part and object of the conspiracy that SAMUEL BANKMAN-FRIED, a/k/a
“SBF,” the defendant, and others known and unknown, knowingly having devised and intending
to devise a scheme and artifice to defraud, and for obtaining money and property by means of false
and fraudulent pretenses, representations, and promises, would and did transmit and cause to be
transmitted by means of wire, radio, and television communication in interstate and foreign
commerce, writings, signs, signals, pictures, and sounds for the purpose of executing such scheme
and artifice, in violation of Title 18, United States Code, Section 1343, to wit, BANKMAN-FRIED
agreed with others to defraud customers of FTX by misappropriating those customers’ deposits
and using those deposits to pay expenses and debts of Alameda, and to make investments, and for
other purposes.

(Title 18, United States Code, Section 1349.)

26

Case 1:22-cr-00673-LAK Document 115 Filed 03/28/23 Page 27 of 43

COUNT TWO
(Wire Fraud on Customers of FTX)

The Grand Jury further charges:

66. The allegations contained in paragraphs 1 through 62 of this Indictment are
repeated and realleged as if fuily set forth herein.

67. From at least in or about 2019, up to and including in or about November 2022, in
the Southern District of New York and elsewhere, SAMUEL BANKMAN-ERIED, a/k/a “SBF,”
the defendant, knowingly having devised and intending to devise a scheme and artifice to defraud,
and for obtaining money and property by means of false and fraudulent pretenses, representations
and promises, transmitted and caused to be transmitted by means of wire, radio, and television
communication in interstate and foreign commerce, writings, signs, signals, pictures, and sounds
for the purpose of executing such scheme and artifice, to wit, BANKMAN-FRIED, along with
others, engaged in a scheme to defraud customers of FTX by misappropriating those customers’
deposits, and using those deposits to pay expenses and debts of Alameda to make investments, and
for other purposes,

(Title 18, United States Code, Sections 1343 and 2.)
COUNT THREE

(Conspiracy to Commit Fraud on Customers of FTX in Connection with Purchase and
Sales of Derivatives)

The Grand Jury further charges:

68. The allegations contained in paragraphs 1 through 62 of this Indictment are
repeated and realleged as if fully set forth herein.

69, From at least in or about 2019, up to and including in or about November 2022, in
the Southern District of New York, and elsewhere, SAMUEL BANKMAN-FRIED, a/k/a “SBF,”

the defendant, and others known and unknown, willfully and knowingly did combine, conspire,

27

Case 1:22-cr-00673-LAK Document 115 Filed 03/28/23 Page 28 of 43

confederate, and agree together and with each other to commit an offense against the United States,
to wit, commodities fraud, in violation of Title 7, United States Code, Sections 9(1) and 13(a)(5),
and Title 17, Code of Federal Regulations, Section 180.1.

70. ‘It was a part and an object of the conspiracy that SAMUEL BANKMAN-FRIED,
a/k/a “SBF,” the defendant, and others known and unknown, willfully and knowingly, would and
did, directly and indirectly, use and employ, and attempt to use and employ, in connection with a
swap, a contract of sale of a commodity in interstate commerce, and for future delivery on and
subject to the rules of a registered entity, a manipulative and deceptive device and contrivance, in
contravention of Title 17, Code of Federal Regulations, Section 180.1, by: (a) using and
employing, and attempting to use and employ, a manipulative device, scheme, and artifice to
defraud; (b) making, and attempting to make, an untrue and misleading statement of a material
fact and omitting to state a material fact necessary in order to make the statements made not untrue
and misleading; and (c) engaging, and attempting to engage in an act, practice, and course of
business, which operated and would operate as a fraud and deceit upon a person, in violation of
Title 7, United States Code, Sections 9(1) and 13(a)(5), to wit, BANKMAN-FRIED agreed with
others to defraud customers of FTX trading or intending to trade futures, options, swaps, and
derivatives by misappropriating those customers’ deposits and using those deposits to pay
expenses and debts of Alameda, and to make investments, and for other purposes.

Overt Act

71. In furtherance of the conspiracy and to effect the illegal object thereof, the

following overt act, among others, was committed in the Southern District of New York and

elsewhere: in or about June 2022, SAMUEL BANKMAN-FRIED, a/k/a “SBF,” the defendant,

28

Case 1:22-cr-00673-LAK Document 115 Filed 03/28/23 Page 29 of 43

and others misappropriated FTX customer deposits in order to, among other things, satisfy loan
obligations owed by Alameda Research.
(Title 18, United States Code, Section 371.)

COUNT FOUR
(Fraud on Customers of FTX in Connection with Purchase and Sales of Derivatives)

The Grand Jury further charges:

72. The allegations contained in paragraphs 1 through 62 of this Indictment are
repeated and realleged as if fully set forth herein.

73. From at least in or about 2019, up to and including in or about November 2022, in
the Southern District of New York and elsewhere, SAMUEL BANKMAN-FRIED, a/k/a “SBF,”
the defendant, willfully and knowingly, directly and indirectly, used and employed, and attempted
to use and employ, in connection with a swap, a contract of sale of a commodity in interstate
commerce, and for future delivery on and subject to the rules of a registered entity, a manipulative
and deceptive device and contrivance, in contravention of Title 17, Code of Federal Regulations,
Section 180.1, by: (1) using and employing, and attempting to use and employ, a manipulative
device, scheme, and artifice to defraud; (2) making, and attempting to make, an untrue and
misleading statement of material fact and omitting to state a material fact necessary in order to
make the statements made not untrue and misleading; and (3) engaging, and attempting to engage
in an act, practice, and course of business which operated and would operate as a fraud and deceit
upon a person, to wit, to BANKMAN-FRIED, along with others, engaged in a scheme to defraud

customers of FTX trading or intending to trade futures, options, swaps, and derivatives by

29

Case 1:22-cr-00673-LAK Document 115 Filed 03/28/23 Page 30 of 43

misappropriating those customers’ deposits and using those deposits to pay expenses and debts of
Alameda, and to make investments, and for other purposes.

(Title 7, United States Code, Sections 9(1) and 13(a)(5), and Title 17, Code of Federal
Regulations, Section 180.1; Title 18, United States Code, Section 2.)

COUNT FIVE
(Conspiracy to Commit Securities Fraud on Investors in FTX)

The Grand Jury further charges:

74. The allegations contained in paragraphs 1 through 62 of this Indictment are
repeated and realleged as if fully set forth herein.

75. From at least in or about 2019, up to and including in or about November 2022, in
the Southern District of New York, and elsewhere, SAMUEL BANKMAN-FRIED, a/k/a “SBF,”
the defendant, and others known and unknown, willfuliy and knowingly did combine, conspire,
confederate, and agree together and with each other to commit an offense against the United States,
to wit, securities fraud in violation of Title 15, United States Code, Sections 78j(b) and 78ff, and
Title 17, Code of Federal Regulations, Section 240.10b-5.

76. — It was a part and an object of the conspiracy that SAMUEL BANKMAN-FRIED,
a/k/a “SBF,” the defendant, and others known and unknown, willfully and knowingly would and
did, directly and indirectly, by use of a means and instrumentality of interstate commerce and of
the mails, and of a facility of a national securities exchange, use and employ, in connection with
the purchase and sale of a security, a manipulative and deceptive device and contrivance, in
violation of Title 17, Code of Federal Regulations, Section 240.10b-5, by: (a) employing a device,
scheme, and artifice to defraud; (b) making an untrue statement of material fact and omitting to
state a material fact necessary in order to make the statements made, in the light of the

circumstances under which they were made, not misleading; and (c) engaging in an act, practice,

30

Case 1:22-cr-00673-LAK Document 115 Filed 03/28/23 Page 31 of 43

and course of business which operated and would operate as a fraud and deceit upon a person, in
violation of Title 15, United States Code, Sections 78j(b) and 78ff, to wit, BANKMAN-FRIED
agreed with others to engage in a scheme to defraud investors in FTX by providing false and
misleading information to those investors regarding FTX’s financial condition and the relationship
between FTX and Alameda.
Overt Act

77. In furtherance of the conspiracy and to effect the illegal object thereof, the
following overt act, among others, was committed in the Southern District of New York and
elsewhere: on or about September 18, 2022, SAMUEL BANKMAN-FRIED, a/k/a “SBF,” the
defendant, caused an email to be sent to an FTX investor in New York, New York that contained
materially false information about FTX’s financial condition.

(Title 18, United States Code, Section 371.)

COUNT SIX
(Securities Fraud on Investors in FTX)

The Grand Jury further charges:

78. The allegations contained in paragraphs 1 through 62 of this Indictment are
repeated and realleged as if fully set forth herein.

79, From at least in or about 2019, up to and including in or about November 2022, in
the Southern District of New York, and elsewhere, SAMUEL BANKMAN-FRIED, a/k/a “SBF,”
the defendant, willfully and knowingly, directly and indirectly, by use of a means and
instrumentality of interstate commerce and of the mails, and a facility of a national securities
exchange, used and employed, in connection with the purchase and sale of a security, a
manipulative and deceptive device and contrivance, in violation of Title 17, Code of Federal

Regulations, Section 240.10b-5, by (a) employing a device, scheme, and artifice to defraud; (b)}

31

Case 1:22-cr-00673-LAK Document 115 Filed 03/28/23 Page 32 of 43

making an untrue statement of material fact and omitting to state a material fact necessary in order
to make the statements made, in light of the circumstances under which they were made, not
misleading; and (c) engaging in an act, practice, and course of business which operated and would
operate as a fraud and deceit upon a person, to wit, BANKMAN-FRIED, along with others,
engaged in a scheme to defraud investors in FTX by providing false and misleading information
to those investors regarding FTX’s financial condition and the relationship between FTX and
Alameda.

(Title 15, United States Code, Sections 78j(b) & 78ff; Title 17, Code of Federal Regulations,
Section 240.10b-5; Title 18, United States Code, Section 2.)

COUNT SEVEN
(Conspiracy to Commit Wire Fraud on Lenders to Alameda Research)

The Grand Jury further charges:

80. The allegations contained in paragraphs 1 through 62 of this Indictment are
repeated and realleged as if fully set forth herein.

81. From at least in or about June 2022, up to and including in or about November
2022, in the Southern District of New York, and elsewhere, SAMUEL BANKMAN-FRIED, a/k/a
“SBF,” the defendant, and others known and unknown, willfully and knowingly did combine,
conspire, confederate, and agree together and with each other to commit wire fraud, in violation
of Title 18, United States Code, Sections 1343.

82. It was a part and object of the conspiracy that SAMUEL BANKMAN-FRIED, a/k/a
“SBF,” the defendant, and others known and unknown, knowingly having devised and intending
to devise a scheme and artifice to defraud, and for obtaining money and property by means of false
and fraudulent pretenses, representations, and promises, would and did transmit and cause to be

transmitted by means of wire, radio, and television communication in interstate and foreign

32

Case 1:22-cr-00673-LAK Document 115 Filed 03/28/23 Page 33 of 43

commerce, writings, signs, signals, pictures, and sounds for the purpose of executing such scheme
and artifice, in violation of Title 18, United States Code, Section 1343, to wit, BANKMAN-FRIED
agreed with others to defraud, including through the use of interstate wires, lenders to Alameda by
providing false and misleading information to those lenders regarding Alameda’s financial
condition.

(Title 18, United States Code, Section 1349.)

COUNT EIGHT
(Wire Fraud on Lenders to Alameda Research)

The Grand Jury further charges:

83. The allegations contained in paragraphs | through 62 of this Indictment are
repeated and realleged as if fully set forth herein.

84. From at least in or about June 2022, up to and including in or about November
2022, in the Southern District of New York and elsewhere, SAMUEL BANKMAN-FRIED, a/k/a
“SBE,” the defendant, knowingly having devised and intending to devise a scheme and artifice to
defraud, and for obtaining money and property by means of false and fraudulent pretenses,
representations and promises, transmitted and caused to be transmitted by means of wire, radio,
and television communication in interstate and foreign commerce, writings, signs, signals,
pictures, and sounds for the purpose of executing such scheme and artifice, to wit, BANKMAN-
FRIED, along with others, engaged in a scheme to defraud, including through the use of interstate
wires, lenders to Alameda by providing false and misleading information to those lenders
regarding Alameda’s financial condition.

(Title 18, United States Code, Sections 1343 and 2.)

33

Case 1:22-cr-00673-LAK Document 115 Filed 03/28/23 Page 34 of 43

COUNT NINE
(Conspiracy to Commit Bank Fraud)

The Grand Jury further charges:

85. The allegations contained in paragraphs 1 through 62 of this Indictment are
repeated and realleged as if fully set forth herein.

86. From at least in or about October 2019, up to and including in or about November
2022, in the Southern District of New York and elsewhere, SAMUEL BANKMAN-FRIED, a/k/a
“SBF,” the defendant, and others known and unknown, willfully and knowingly did combine,
conspire, confederate, and agree together and with each other to commit bank fraud, in violation
of Title 18, United States Code, Section 1344.

87. It was a part and object of the conspiracy that SAMUEL BANKMAN-FRIED, a/k/a
“SBF,” the defendant, and others known and unknown, would and did execute, and attempt to
execute, a scheme and artifice to obtain moneys, funds, credits, assets, securities, and other
property owned by, and under the custody and control of, a financial institution, as defined in Title
18, United States Code, Section 20, by means of false and fraudulent pretenses, representations,
and promises, in violation of Title 18, United States Code, Section 1344, to wit, BANK MAN-
FRIED, along with others, in order to open a bank account and to obtain customer deposits and
fees, falsely represented to a financial institution that the account would be used for trading and
market making, even though BANKMAN-FRIED knew that the account would be used to receive
and transmit customer funds in the operation of a cryptocurrency exchange, and thereafter, in
connection with using the account for the receipt and transmission of customer funds, omitted
material facts in a manner that made what was communicated misleading.

(Title 18, United States Code, Section 1349.)

34

Case 1:22-cr-00673-LAK Document 115 Filed 03/28/23 Page 35 of 43

COUNT TEN
(Conspiracy to Operate an Unlicensed Money Transmitting Business)

The Grand Jury further charges:

88. The allegations contained in paragraphs 1 through 62 of this Indictment are
repeated and realleged as if fully set forth herein.

89. From at least in or about October 2019, up to and including in or about November
2022, in the Southern District of New York and elsewhere, SAMUEL BANKMAN-FRIED, a/k/a
“SBF,” the defendant, and others known and unknown, willfully and knowingly did combine,
conspire, confederate, and agree together and with each other to commit an offense against the
United States, to wit, operation of an unlicensed money transmitting business, in violation of Title
18, United States Code, Section 1960.

90. It was a part and an object of the conspiracy that SAMUEL BANKMAN-FRIED,
a/k/a “SBF,” the defendant, and others known and unknown, would and did knowingly conduct,
control, manage, supervise, direct, and own all and part of an unlicensed money transmitting
business affecting interstate and foreign commerce, which failed to comply with the money
transmitting business registration requirements under Section 5330 of Title 31, United States Code,
and regulations prescribed under such section, in violation of Title 18, United States Code, Section
1960.

Overt Act

91. In furtherance of the conspiracy and to effect the illegal object thereof, the
following overt acts, among others, were committed in the Southern District of New York and
elsewhere: Alameda and FTX employees, at the direction of SAMUEL BANKMAN-FRIED, a/k/a

“SBF,” the defendant, caused FTX customers to send wire transfers and sent wire transfers to FTX

35

Case 1:22-cr-00673-LAK Document 115 Filed 03/28/23 Page 36 of 43

customers, some of which were received in and were transmitted through the Southern District of
New York.
(Title 18, United States Code, Section 371.)

COUNT ELEVEN
(Conspiracy to Commit Money Laundering)

The Grand Jury further charges:

92. The allegations contained in paragraphs 1 through 62 of this Indictment are
repeated and realleged as if fully set forth herein.

93. From at least in or about 2020, up to and including in or about November 2022, in
the Southern District of New York, and elsewhere, SAMUEL BANKMAN-ERIED, a/k/a “SBF,”
the defendant, and others known and unknown, willfully and knowingly did combine, conspire,
confederate, and agree together and with each other to violate Title 18, United States Code,
Sections 1956(a)(1)(B)(@) and 1957(a).

94. It was a part and an object of the conspiracy that SAMUEL BANKMAN-FRIED,
a/k/a “SBE,” the defendant, and others known and unknown, in an offense in and affecting
interstate and foreign commerce, knowing that the property involved in a financial transaction, to
wit, one or more monetary transfers, represented the proceeds of some form of unlawful activity,
would and did conduct and attempt to conduct such a financial transaction, which in fact involved
the proceeds of specified unlawful activity, to wit, the wire fraud alleged in Count Two of this
Indictment, knowing that the transaction was designed in whole and in part to conceal and disguise
the nature, the location, the source, the ownership, and the control of the proceeds of specified
unlawful activity, in violation of Title 18, United States Code, Section 1956(a)()(B)Q).

95. It was a further part and an object of the conspiracy that SAMUEL BANKMAN-

FRIED, a/k/a “SBE,” the defendant, and others known and unknown, within the United States,

36

Case 1:22-cr-00673-LAK Document 115 Filed 03/28/23 Page 37 of 43

would and did knowingly engage and attempt to engage in a monetary transaction in criminally
derived property of a value greater than $10,000 and that was derived from specified unlawful
activity, to wit, the wire fraud alleged in Count Two of this Indictment, in violation of Title 18,
United States Code, Section 1957(a).

(Title 18, United States Code, Section 1956(h).)

COUNT TWELVE
(Conspiracy to Make Unlawful Political Contributions and Defraud the FEC)

The Grand Jury further charges:

96. The allegations contained in paragraphs 1 through 62 of this Indictment are
repeated and realleged as if fully set forth herein.

97. From at least in or about 2020, up to and including in or about November 2022, in
the Southern District of New York, and elsewhere, SAMUEL BANKMAN-EFRIED, a/k/a “SBF,”
the defendant, and others known and unknown, knowingly did combine, conspire, confederate,
and agree together and with each other to defraud the United States, in violation of Title 18, United
States Code, Section 371, and willfully and knowingly did combine, conspire, confederate, and
agree together and with each other to commit offenses against the United States by engaging in
violations of federal law involving the making, receiving, and reporting ofa contribution, donation,
or expenditure, in violation of Title 52, United States Code, Sections 30109(d)(1)(A) & (D).

98. It was part and an object of the conspiracy that SAMUEL BANKMAN-FRIED,
a/k/a “SBF,” the defendant, and others known and unknown, would and did knowingly and
willfully make contributions to candidates for federal office, joint fundraising committees, and

independent expenditure committees in the names of other persons, aggregating to $25,000 and

37

Case 1:22-cr-00673-LAK Document 115 Filed 03/28/23 Page 38 of 43

more in a calendar year, in violation of Title 52, United States Code, Sections 30122 and
30109¢d)(1)(A) & (D).

99. It was a further part and object of the conspiracy that SAMUEL BANKMAN-
FRIED, a/k/a “SBF,” the defendant, and others known and unknown, would and did knowingly
and willfully make contributions to candidates for federal office and joint fundraising committees
by a corporation, aggregating to $25,000 and more in a calendar year, in violation of Title 52,
United States Code, Sections 30118 and 30109(d}(1}(A).

100. It was a further part and object of the conspiracy that SAMUEL BANKMAN-
FRIED, a/k/a “SBF,” the defendant, and others known and unknown, would and did defraud the
United States, and an agency thereof, by impairing, obstructing, and defeating the lawful functions
of a department and agency of the United States through deceitful and dishonest means, to wit, the
Federal Election Commission’s function to administer federal law concerning source and amount
restrictions in federal elections, including the prohibitions applicable to corporate contributions
and conduit contributions, in violation of Title 18, United States Code, Section 371.

Overt Act

101. In furtherance of the conspiracy and to effect the illegal objects thereof, the
following overt acts, among others, was committed in the Southern District of New York and
elsewhere: in or about 2022, SAMUEL BANKMAN-FRIED a/k/a “SBF,” the defendant, and one
or more other conspirators agreed to and did make corporate contributions to candidates and
committees in the Southern District of New York that were reported in the name of another person.

(Title 18, United States Code, Section 371.)

38

Case 1:22-cr-00673-LAK Document 115 Filed 03/28/23 Page 39 of 43

COUNT THIRTEEN
(Conspiracy to Violate the Anti-Bribery Provisions
of the Foreign Corrupt Practices Act)

The Grand Jury further charges:

102. The allegations contained in paragraphs 1 through 62 of this Indictment are
repeated and realleged as if fully set forth herein.

103. From at least in or about January 2021 up to and including in or about February
2022, in an offense begun and committed out of the jurisdiction of any particular State or district,
SAMUEL BANKMAN-ERIED, a/k/a “SBF,” the defendant, and others known and unknown, at
least one of whom was first brought to and will be arrested in the Southern District of New York,
willfully and knowingly combined, conspired, confederated, and agreed together and with each
other to commit an offense against the United States, to wit, to violate the Foreign Corrupt
Practices Act, Title 15, United States Code, Section 78dd-2.

104. It was a part and an object of the conspiracy that SAMUEL BANKMAN-FRIED,
a/k/a “SBF,” the defendant, (1) being a domestic concern and an officer, employee, and agent of a
domestic concern and a stockholder thereof acting on behalf of such domestic concern, would and
did willfully and corruptly make use of the mails and a means and instrumentality of interstate
commerce, and (2) being a United States person, would and did willfully and corruptly do any act
outside the United States, in furtherance of an offer, payment, promise to pay, and authorization
of the payment of any money, and offer, gift, promise to give, and authorization of the giving of a
thing of value to a foreign official, and to a person while knowing that all and a portion of such
money and thing of value would be and had been offered, given, and promised, directly and
indirectly, to a foreign official, for purposes of: (A)(i) influencing an act and decision of such

foreign official in that foreign official’s official capacity; (ii) inducing such foreign official to do

39

Case 1:22-cr-00673-LAK Document 115 Filed 03/28/23 Page 40 of 43

and omit to do an act in violation of the lawful duty of such foreign official; and Gii) securing an
improper advantage; and (B) inducing such foreign official to use that foreign official’s influence
with a foreign government and agencies and instrumentalities thereof to affect and influence an
act and decision of such government and agencies and instrumentalities, in order to assist
BANK MAN-FRIED, Alameda, and others in obtaining and retaining business for and with, and
directing business to, a person, in violation of Title 15, United States Code, Section 78dd-2, to wit,
BANKMAN-FRIED and others agreed to pay cryptocurrency to one or more foreign officials in
China to influence and induce them to unfreeze the Accounts, in order to assist BANK MAN-
FRIED, Alameda, and others in obtaining and retaining business for, and directing business to,
BANKMAN-FRIED, Alameda, and others.
Overt Act

105. In furtherance of the conspiracy and to effect the illegal object thereof, the
following overt act, among others, was committed and caused to be committed abroad: in or about
November 2021, SAMUEL BANKMAN-FRIED, a/k/a “SBF,” the defendant, and others directed
and caused the transfer of at least approximately $40 million m cryptocurrency intended for the
benefit of one or more Chinese government officials in order to influence and induce them to
unfreeze the Accounts.

(Title 18, United States Code, Sections 371 and 3238.)

FORFEITURE ALLEGATION

106. As aresult of committing the offenses alleged in Counts One, Two, Seven, Eight,
Nine, and Thirteen of this Indictment, SAMUEL BANKMAN-FRIED, a/k/a “SBF,” the defendant,
shall forfeit to the United States, pursuant to Title 18, United States Code, Section 981(a)(1)(C)

and Title 28 United States Code, Section 2461(c), any and all property, real and personal, that

40

Case 1:22-cr-00673-LAK Document 115 Filed 03/28/23 Page 41 of 43

constitutes or is derived from proceeds traceable to the commission of said offenses, including but
not limited to a sum of money in United States currency representing the amount of proceeds
traceable to the commission of said offenses, and the following specific property:

a. 55,273,469 shares of the stock of Robinhood Markets Inc. from Account
Number 499-30500 at ED&F Man Capital Markets, Inc., a/k/a “Marex,” held in the name of
“Emergent Fidelity Technologies,” seized by the Government on or about January 4, 2023;

b. $20,746,713.67 in United States currency formerly on deposit in Account
Numbers 499-30500 and 429-30500 at ED&F Man Capital Markets, Inc., a/k/a “Marex,” held in
the name of “Emergent Fidelity Technologies,” seized by the Government on or about January 4,
2023;

C. $49,999,500 in United States currency formerly on deposit in Account
Number 9000-1924-02685 at Farmington State Bank d/b/a “Moonstone Bank” held in the name
of “FTX Digital Markets,” seized by the Government on or about January 4, 2023;

d. $5,322,385.32 in United States currency formerly held on deposit in
Account Number 0000005090042549 at Silvergate Bank held in the name of “FTX Digital
Markets,” seized by the Government on or about January 11, 2023;

e. $719,359.65 in United States currency formerly on deposit in Account
Number 0000005090042556 at Silvergate Bank held in the name of “FTX Digital Markets,” seized
by the Government on or about January 11, 2023;

f. $1,071.83 in United States currency formerly on deposit in Account
Number 0000005090042564 at Silvergate Bank held in the name of “FTX Digital Markets,” seized.
by the Government on or about January 11, 2023;

g. $94,570,490.63 in United States currency formerly on deposit in Account
Number 0000005091010037 at Silvergate Bank held in the name of “FTX Digital Markets,”
seized by the Government on or about January 19, 2023;

h. Any and all monies, assets, and funds contained in Binance account
number 94086678;
i Any and all monies, assets, and funds contained in Binance.us account

number 35000066; and

j. Any and all monies, assets, and funds contained in Binance.us account
number 35155204.

107. As a result of committing the offenses alleged in Counts Five and Six of this
Indictment, SAMUEL BANKMAN-FRIED, a/k/a “SBF,” the defendant, shall forfeit to the United

4}

Case 1:22-cr-00673-LAK Document 115 Filed 03/28/23 Page 42 of 43

States, pursuant to Title 18, United States Code, Section 981(a)(1)(C) and Title 28 United States
Code, Section 2461(c), any and all property, real and personal, that constitutes or is derived from
proceeds traceable to the commission of said offenses, including but not limited to a sum of money
in United States currency representing the amount of proceeds traceable to the commission of said
offenses.

108. Asa result of committing the offenses alleged in Counts Ten and Eleven of this
Indictment, SAMUEL BANKMAN-FRIED, a/k/a “SBF,” the defendant, shall forfeit to the United
States, pursuant to Title 18, United States Code, Section 982(a)(1), any and all property, real and
personal, involved in said offenses, or any property traceable to such property, including but not
limited to a sum of money in United States currency representing the amount of property involved
in said offenses, and the following specific property:

a. 55,273,469 shares of the stock of Robinhood Markets Inc. from Account
Number 499-30500 at ED&F Man Capital Markets, Inc., a/k/a “Marex,” held in the name of
“Emergent Fidelity Technologies,” seized by the Government on or about January 4, 2023;

b. $20,746,713.67 in United States currency formerly on deposit in Account
Numbers 499-30500 and 429-30500 at ED&F Man Capital Markets, Inc., a/k/a “Marex,” held in
the name of “Emergent Fidelity Technologies,” seized by the Government on or about January 4,
2023;

c. $49,999,500 in United States currency formerly on deposit in Account
Number 9000-1924-02685 at Farmington State Bank d/b/a “Moonstone Bank” held in the name
of “FTX Digital Markets,” seized by the Government on or about January 4, 2023;

d. $5,322,385.32 in United States currency formerly held on deposit in
Account Number 0000005090042549 at Silvergate Bank held in the name of “FTX Digital
Markets,” seized by the Government on or about January 11, 2023;

e. $719,359.65 in United States currency formerly on deposit in Account
Number 0000005090042556 at Silvergate Bank held in the name of “FTX Digital Markets,” seized
by the Government on or about January 11, 2023;

£. $1,071.83 in United States currency formerly on deposit in Account
Number 0000005090042564 at Silvergate Bank held in the name of “FTX Digital Markets,” seized
by the Government on or about January 11, 2023;

42

Case 1:22-cr-00673-LAK Document 115 Filed 03/28/23 Page 43 of 43

g. $94,570,490.63 in United States currency formerly on deposit in Account
Number 0000005091010037 at Silvergate Bank held in the name of “FTX Digital Markets,” seized
by the Government on or about January 19, 2023;

h. Any and all monies, assets, and funds contained in Binance account number
94086678;

i. Any and all monies, assets, and funds contained in Binance.us account
number 35000066; and

j. Any and all monies, assets, and funds contained in Binance.us account
number 35155204.

109. If any of the above-described forfeitable property, as a result of any act or omission
of the defendant: (a) cannot be located upon the exercise of due diligence; (b) has been transferred
or sold to, or deposited with, a third person; (c} has been placed beyond the jurisdiction of the
Court; (d) has been substantially diminished in value; or (e¢) has been commingled with other
property which cannot be subdivided without difficulty; it is the intent of the United States,
pursuant to Title 21, United States Code, Section 853(p) and Title 28, United States Code, Section
2461(c), to seek forfeiture of any other property of the defendant up to the value of the above
forfeitable property.

(Title 18, United States Code, Section 981;
Title 18, United States Code, Section 982;

Title 21, United States Code, Section 853; and
Title 28, United States Code, Section 2461.)

FOREPERSO DAMIAN WILLIAMS
GOI AF United States Attorney

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KENNETH A. POLITEZJR,
Assistant Attorney General

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